991 F.2d 787
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph L. BEST, Plaintiff-Appellant,v.NORTH CAROLINA DEPARTMENT OF CORRECTIONS;  Joseph L.Hamilton;  J. R. Millinax;  Joseph G. Pickelsimer;Lawrence Norwood;  Bruce Cook;  AaronJohnson;  Kathy Knight,Defendants-Appellees.
    No. 92-6899.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 1, 1993Decided:  February 19, 1993
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Graham C. Mullen, District Judge.  (CA-90-59)
      Joseph L. Best, Appellant Pro Se.
      Jane Ray Garvey, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      W.D.N.C.
      AFFIRMED.
      Before HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Joseph L. Best appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Best v. North Carolina Department of Corrections, No. CA-90-59 (W.D.N.C. July 30, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    